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                                                                           SUPPR¥6Sl:IJ
                             UNITED STATES DISTRICT COURT                          APR 2 8 2021
                             EASTERN DISTRICT OF MISSOURI
                                                                                 U.S. DISTRICT COURT
                                   EASTERN DIVISION                            EASTERN DISTRICT OF MO
                                                                                       ST. LOUIS
 UNITED STATES OF AMERICA,                       )
                                                 )
            Plaintiff,                           )
                                                 )
 V.                                              )
                                                 )   4:21CR272 MTS/SRW
 DA YID BARKLAGE,                                )
                                                 )
            Defendant.                           )

                                          INDICTMENT


      THE GRAND JURY CHARGES:

                                             COUNT I

      At all times relevant to the Indictment:

      I.         The defendant, DAVID BARKLAGE (hereinafter referred to as "BARKLAGE"),

was a political campaign manager, consultant, and lobbyist who owned, operated, or was otherwise

associated with Barklage and Knodell, a partnership owned 50% by BARKLAGE, and The

Barklage Company, a corporation owned 100% by BARKLAGE.

       2.        During 2012-14, BARKLAGE had several sources of income, but he did not report

a substantial portion of his income on his individual income tax returns.          Specifically,

BARKLAGE had three main sources of unreported income.             First, BARKLAGE received

$111,500, $64,464, and $33,535 from a political campaign in the State of Missouri during the tax

years 2012, 2013, and 2014, respectively. Second, BARKLAGE received $30,000 in lobbying

fees that he earned from a company during tax year 2013. Third, BARKLAGE earned $122,580

from an independent media producer, during tax year 2012. RARKLAGE deposited all of these

funds into his personal bank account, instead of his business bank accounts. RARKLAGE then
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willfully failed to disclose these funds or turn over his personal bank account information and

statements to his tax return preparer.   Thus, these funds and earnings were not included on

BARKLAGE's tax returns for the years 2012, 2013, and 2014, At the time, BARKLAGE knew

that these funds were reportable income for tax purposes, knew that he should provide this earnings

information to his tax preparer, and knew that his tax returns would, therefore, be false and would

be transmitted to the Internal Revenue Service.

       3.      By failing to provide this earnings information to his tax preparer, BARKLAGE

caused the creation, issuance, and filing of false personal form 1040 tax returns and a substantial

under-reporting of his income on those personal 1040 tax returns. BARK.LAGE failed to report

a total of $443,633.00 in income for the tax years 2012-14.

       4.      As a result of his under-reporting of his income, BARKLAGE owes $151,843 for

the 2012-14 tax years.

       5.      On or about April 15, 2015, in the Eastern District of Missouri,

                                     DAVID BARKLAGE,

the defendant herein, did willfully make and subscribe his 2014 individual income tax return,

which contained or was verified by a written declaration that it was made under the penalties of

perjury, and which DAVID BARKLAGE did not believe to be true and correct as to every

material matter.

       In violation of Title 26, United States Code, Section 7206(1).

                                                      A TRUE BILL


                                                      FOREPERSON
SAYLER A, FLEMING
United States Attorney


HAL GOLDSMITH, #32984MO
Assistant United States Attorney

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